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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS




IN RE BROILER CHICKEN ANTITRUST                               Case No. 1:16-cv-08637
LITIGATION
                                                              The Honorable Thomas Durkin
This Document Relates To:

Winn-Dixie Stores, Inc., et. al. v. Koch Foods, Inc.,         Case No. 1:18-cv-00245
et. al.

                                       NOTICE OF MOTION

             PLEASE TAKE NOTICE that on August 5, 2019 at 9:00 a.m., or as soon thereafter as
     counsel may be heard, we will appear before the Honorable Judge Thomas M. Durkin in Room
     1441 of the Dirksen Federal Building located at 219 South Dearborn Street, Chicago, Illinois,
     and then and there present the attached Defendant Fieldale Farms Corporation’s Motion to
     Enforce Final Approval Order and Dismiss All Claims Brought by Plaintiffs Winn-Dixie
     Stores, Inc. And Bi-Lo Holdings, LLC and memorandum in support thereof, copies of which
     are hereby served upon you.

     Dated: July 22, 2019                              /s/ Max Marks
                                                       B. Parker Miller (pro hac vice)
                                                       Valarie C. Williams (pro hac vice)
                                                       Max Marks (pro hac vice)
                                                       James B. Cash (pro hac vice)
                                                       Anthony T. Greene (pro hac vice)
                                                       ALSTON & BIRD LLP
                                                       1201 West Peachtree Street
                                                       Atlanta, GA 30309
                                                       (404) 881-7000 (T)
                                                       (404) 881-7777 (F)
                                                       parker.miller@alston.com
                                                       valarie.williams@alston.com
                                                       max.marks@alston.com
                                                       james.cash@alston.com
                                                       tony.greene@alston.com

                                                       Brendan J. Healey
                                                       MANDELL MENKES LLC
                                                       One North Franklin, Suite 3600


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                                           Chicago, IL 60606
                                           (312) 251-1006 (T)
                                           (312) 759-2189 (F)
                                           bhealey@mandellmenkes.com

                                           R. Brent Hatcher, Jr. (pro hac vice)
                                           SMITH, GILLIAM, WILLIAMS & MILES PA
                                           301 Green Street NW, Suite 200
                                           Gainesville, GA 30501
                                           (770) 536-3381 (T)
                                           (770) 535-9902 (F)
                                           bhatcher@sgwmfirm.com

                                           Attorneys for Fieldale Farms Corporation




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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on July 22, 2019, he filed Fieldale’s
NOTICE OF MOTION with the Clerk of the Court via the ECF system, which automatically
served all registered participants.

                                                     /s/ Max Marks




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